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                           1UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PETER PILARSKI, individually and         )                  Case No. 17-cv-08659
on behalf of similarly situated persons, )
                                         )                  Hon. Rebecca R. Pallmeyer
                       Plaintiff,        )
                                         )
                v.                       )
                                         )
RENT RECOVER OF BETTER NOI LLC,          )
later incorporated as RENT RECOVER, LLC, )
and BETTERNOI, LLC,                      )
                                         )
                       Defendants.       )


                 ORDER PRELIMINARILY APPROVING SETTLEMENT

       WHEREAS, the Parties have reached a proposed settlement and compromise of the

dispute between them and other similarly situated persons in the Action, which is set forth in the

Settlement Agreement filed with the Court; and

       WHEREAS, the Parties have applied to the Court for preliminary approval of the proposed

Settlement, the terms and conditions of which are set forth in the Settlement Agreement; and

       WHEREAS, it appears to the Court upon preliminary examination that the proposed

Settlement is fair, reasonable and adequate, and that a hearing should be held after notice to the

Settlement Class of the proposed Settlement to finally determine whether the proposed Settlement

is fair, reasonable and adequate and whether a Final Approval Order and Judgment should be

entered in this Action.

THE COURT FINDS AND ORDERS AS FOLLOWS:

       1.      The capitalized terms used in this Preliminary Approval Order shall have the same

meaning as defined in the Settlement Agreement except as may otherwise be ordered.



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          2.   The Court preliminarily approves the Settlement Agreement as fair, reasonable and

adequate to the Settlement Class, as falling within the range of possible final approval, and as

meriting notice of the Settlement to persons in the Class for their consideration and a hearing as to

the approval of the Settlement.

          3.   The Settlement Agreement was entered into by experienced counsel and only after

extensive arm’s-length negotiations.

          4.   The Court has previously certified the Class consisting of: “All persons with a

Michigan address who were sent a letter in the form of Exhibit A attached to the Complaint, as

Amended, that contained, in part, a statement that ‘Your account will accrue interest at a rate of

7.00 percent annum.’”

          5.   This Court has previously found that Plaintiff will fairly and adequately represent

and protect the interests of the absent Class Members and that Curtis C. Warner of Warner Law

Firm, LLC, is competent, capable of exercising all responsibilities as Class Counsel, and will fairly

and adequately represent and protect the interests of the absent Class Members.

          6.   The Court approves First Class Inc., to serve as the Class Administrator in this

Action.

          7.   A Final Approval Hearing shall be held before this Court at 10:00 a.m., on

September 23, 2019, to address: (a) whether the proposed Settlement should be finally approved

as fair, reasonable, and adequate including the settlement amount provided to the claiming class

members, Class Counsel’s request for attorney’s fees and costs, and Plaintiff’s Incentive Award

request; and (b) whether the Final Approval Order and Judgment should be entered. The Final

Approval Hearing may be postponed, adjourned or continued by order of the Court without further

notice to the Class. After the Final Approval Hearing, the Court may enter a Final Approval Order



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and Judgment in accordance with the Settlement Agreement that will adjudicate the rights of all

Class Members with respect to the rights being settled.

       8.      The Court approves, as to form and content, the use of a Notice substantially similar

to the forms attached as Exhibit 1 of the Settlement Agreement.

       9.      The cost of Notice and of settlement administration shall be paid by Plaintiff’s

counsel who is advancing those costs to the Plaintiff.

       10.     The Notice, a copy of which was attached as Exhibit 1, to the Parties’ Agreement,

constitutes the best notice practicable under the unique circumstances of this case and is reasonably

calculated to apprise members of the class of the pendency of this Action and of their right to

object to the Settlement or exclude themselves from the Settlement Class. The Court further finds

that the Notice program is reasonable, that it constitutes due, adequate and sufficient notice to all

persons entitled to receive such notice and that it meets the requirements of due process and of

Federal Rule of Civil Procedure 23.

       11.     Any member of the Settlement Class who desires to be excluded from the

Settlement Class, and therefore not be bound by the terms of the Settlement Agreement must

submit to the Class Administrator, pursuant to the instructions and requirements set forth in the

Notice, a timely and valid written request for exclusion postmarked no later than sixty (60) days

from the deadline for sending Notice.

       12.     Each request for exclusion must be personally signed by the individual Class

Member; so-called “mass” or “class” opt outs shall not be allowed. No person shall purport to

exercise any exclusion rights for any other Person, or purport to exclude any other Class Member

as a group, aggregate or class involving more than one Class Member, or as an agent or

representative. Any such purported exclusion shall be void and the person that is the subject of



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the purported opt out shall be treated as a member of the Settlement Class and be bound by the

Settlement.

       13.     Any member of the Settlement Class who elects to be excluded shall not be entitled

to receive any of the benefits of the Settlement, shall not be bound by the release of any claims

pursuant to the Settlement Agreement, and shall not be entitled to object to the Settlement or appear

at the Final Approval Hearing.

       14.     Any Class Member who does not submit a valid and timely request for exclusion

may object to the proposed Settlement, to Class Counsel’s Attorney’s Fees and Costs application,

and/or to the application for an Incentive Award to named Plaintiff. Any such Class Member shall

have the right to appear and be heard at the Final Approval Hearing, either personally or through

an attorney retained at the Class Member’s own expense. Any such Class Member must file with

the Court including any specific objections they wish to make, no later than sixty (60) days from

the deadline for sending Notice. Any Class Member who fails to do so shall be foreclosed from

making such objection or opposition, by appeal, collateral attack, or otherwise. A copy of these

objections should also be served on the Class Administrator.

       15.     All proceedings in this Action are stayed until further order of the Court, except as

may be necessary to implement the terms of the Settlement. Pending final determination of

whether the Settlement should be approved, Plaintiff, all persons in the Settlement Class, and

persons purporting to act on their behalf are enjoined from commencing or prosecuting (either

directly, representatively, or in any other capacity) any released claim against Defendants in any

action, arbitration, or proceeding in any court, arbitration forum, or tribunal.

       16.     Further settlement proceedings in this matter shall proceed according to the

schedule listed below:



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                      Event                                           Scheduled Date

 CAFA Required Notice sent to the                      10 days after the filing of the motion for
 Appropriate Federal and State Authorities             preliminary approval

 Notice mailing deadline                               30 days after this Order is entered
                                                       preliminarily approving the class settlement

 Incentive Award and Attorney’s Fees                   60 days after this Order is entered
 applications due                                      preliminarily approving the class settlement

 Last day for Class Members to opt-out of              90 days after this Order is entered
 Settlement                                            preliminarily approving the class settlement

 Last day for objections to the Settlement to be       90 days after this Order is entered
 filed with the Court                                  preliminarily approving the class settlement

 Parties to file responses to objections, if any       100 days after this Order is entered
                                                       preliminarily approving the class settlement

 Final Approval Hearing                                No earlier than 110 days after this Order is
                                                       entered preliminarily approving the class
                                                       settlement



       17.     Service of all papers on counsel for the parties shall be made as follows: (a) for

Plaintiff: Curtis Warner, Warner Law Firm, LLC, 350 S. Northwest Hwy., Ste. 300, Park Ridge,

IL 60068; and (b) for Defendant: Joseph S. Messer, Messer Strickler, Ltd., 225 W. Washington,

Suite 575, Chicago, IL 60606.

       18.     In the event that a Final Approval Order and Judgment is not entered by the Court,

or the Effective Date of the Settlement does not occur, or the Settlement Agreement otherwise

terminates according to its terms, this Order and all orders entered in connection therewith shall

become null and void, shall be of no further force and effect, and shall not be used or referred to

for any purpose whatsoever, including without limitation for an evidentiary purpose (including but

not limited to class certification) in this Action or any other action. In such event, the Settlement

Agreement, exhibits, attachments and all negotiations and proceedings related thereto shall be

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deemed to be without prejudice to the rights of any and all of the parties who shall be restored to

their respective positions as of the date and time immediately preceding the execution of the

Settlement Agreement.

       19.     The Court may, for good cause, extend all of the deadlines set forth in this Order

without further notice to the Settlement Class.



       DATED this 4th day of June, 2019



                                                      By:

                                                            Hon. Rebecca R. Pallmeyer
                                                            United States District Court Judge




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